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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

ANNETTE NICOLE HANNA,

               Plaintiff,

v.                                                                   No. 1:20-cv-132 KRS

ANDREW M. SAUL,
Commissioner of the Social Security Administration,

               Defendant.

                            ORDER SETTING BRIEFING SCHEDULE

       THIS MATTER comes before the Court sua sponte, following a review of the record. IT

IS HEREBY ORDERED that:

       On or before November 17, 2020, Plaintiff shall file and serve a Motion to Reverse or

Remand Agency Decision with Supporting Memorandum;

       On or before January 19, 2021, Defendant shall file and serve a Response; and

       On or before February 2, 2021, Plaintiff may file and serve a Reply.

       IT IS FURTHER ORDERED that all motions, responses, replies, and supporting

memoranda shall specifically cite to the administrative record for assertions of fact (e.g., AR 15)

and that legal propositions shall be supported by appropriate authority.

       IT IS FURTHER ORDERED that all requests for extensions of time altering the

deadlines set in this Order shall be made through a motion to the Court. If the parties concur in

seeking an extension of time, they shall submit a stipulated proposed order for Court approval.

       IT IS SO ORDERED.


                                              _____________________________________
                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE
